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MENASHI, Circuit Judge, joined by PARK, Circuit Judge, dissenting from
the denial of rehearing en banc:
         The panel opinion embraced a series of anomalous holdings to
affirm the judgment of the district court. This is a defamation case
involving public figures, but the district court excluded evidence of
the defendant’s contemporaneous state of mind, ensuring that the
plaintiff easily met the actual malice standard. The panel opinion
neglected to justify that exclusion. But it upheld the admission of
propensity evidence on the dubious theory that evidence of prior acts
of sexual assault could “prove the actus reus,” meaning whether the
defendant acted in accordance with the propensity on a later occasion.
On top of its evasion of the bar on propensity evidence, the panel
opinion interpreted Rule 415 to override the requirement of Rule 403
to balance the probative value of evidence against its prejudicial
effect, permitting stale witness testimony about a brief encounter that
allegedly occurred forty-five years earlier. And it read Rule 413(d),
which authorizes the admission of evidence that the defendant
committed a “crime” of “sexual assault,” to allow testimony about
prior acts that were neither crimes nor sexual assaults.

         These holdings conflict with controlling precedents and
produced a judgment that cannot be justified under the rules of
evidence that apply as a matter of course in all other cases. In my
view, the same rules should apply equally to all defendants. 1 The
panel opinion sanctioned striking departures from those rules to
justify the irregular judgment in this case, but the consequences of
those holdings will not be limited to a single defendant. I would
rehear the case en banc to “maintain uniformity of the court’s
decisions” and to resolve these important questions in line with


1
    See Judiciary Act of 1789, ch. 20, § 8, 1 Stat. 73, 76, 28 U.S.C. § 453.
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longstanding principles. Fed. R. App. P. 40(b)(2)(A). I dissent from the
decision of the court not to do so.

                                      I

       After E. Jean Carroll announced that she would sue him,
President Trump said that the lawsuit was a “Hoax” and a “con job”
that was “just like all the other Hoaxes that have been played on me
for the past seven years.” App’x 2858. To impose liability on Trump
for defamation based on that statement, the jury needed to find that
Carroll had proved, by clear and convincing evidence, that Trump
had spoken with “actual malice,” meaning he “made the statement
knowing that it was false or acted in reckless disregard of whether or
not it was true.” Carroll v. Trump, 683 F. Supp. 3d 302, 320 (S.D.N.Y.
2023); see also New York Times Co. v. Sullivan, 376 U.S. 254, 280 (1964). 2

       A hoax, like a con job, is an act of fabrication intended to
promote some belief. At trial, Trump sought to introduce evidence
and to question Carroll about facts that could lead a reasonable
observer to believe that the lawsuit was fabricated to advance a


2
  In a footnote, the district court dismissed the argument that the statement
was a non-actionable expression of opinion, see Carroll v. Trump, 650
F. Supp. 3d 213, 226 n.57 (S.D.N.Y. 2023), even though that is how denials
of wrongdoing in response to high-profile lawsuits have been treated in
other cases, see, e.g., Hill v. Cosby, 665 F. App’x 169, 175-76 (3d Cir. 2016)
(holding that a statement by Bill Cosby’s attorney characterizing allegations
as “unsubstantiated, fantastical stories” and “ridiculous” characterized the
accuser as a liar but nevertheless was a non-actionable opinion); Pecile v.
Titan Cap. Grp., LLC, 947 N.Y.S.2d 66, 67 (1st Dep’t 2012) (“The statement,
made to the media, that plaintiffs’ suit was without merit constituted mere
opinion, and was therefore nonactionable. The use of the term ‘shakedown’
in the statement did not convey the specificity that would suggest that the
… defendants were seriously accusing plaintiffs of committing the crime of
extortion.”) (internal quotation marks, citation, and alteration omitted).

                                      2
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political agenda. Carroll had testified, for example, that she was
disinclined to bring a lawsuit until a political opponent of President
Trump had “crystallized” the stakes for her. App’x 1705. Despite her
initial testimony that no one else was funding the lawsuit, Carroll
eventually admitted that “one of the largest donors to the Democratic
[P]arty”—a “vocal critic of [President Trump] and his political
policies” who had “been funding groups to create a bulwark against
Mr. Trump’s agenda”—was financing the nonprofit that paid her
legal fees. Id. at 1177 (internal quotation marks omitted). Carroll had
“stated in the public” that she “had DNA” from the purported
encounter with Trump, but in the litigation she never produced a
DNA report and abandoned the effort to obtain a DNA sample. Id. at
468-69. She was asked on television if she “would consider bringing a
rape charge” and said she would not do so because it would be
“disrespectful” to victims of rape. Id. at 3027-28. She wrote in a
published book that surveillance cameras captured Trump on the day
of the incident, but she did not seek to obtain the footage to support
her lawsuit. Id. at 1840-41. Prior to filing the lawsuit, Carroll sought
out another witness, Natasha Stoynoff, and created a transcript of an
interview that suggests Carroll was coaching her on what to say. 3

      This evidence makes it more likely that President Trump
believed that the lawsuit had been concocted by his political
opposition—and therefore that he was not speaking with actual




3
  Stoynoff denied that Trump had “grind[ed]” against her. App’x 1390-92.
Carroll responded with statements such as “You shook your head and
pushed back. Now think. Did he grind against you?,” id. at 1392, and “[A]re
you quite sure he didn’t grind against you[?] … I think his pelvis was
against you,” id. at 1407.

                                    3
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malice when he called it a hoax. 4 Indeed, Trump argued to the district
court that the evidence “strikes at the heart” of “whether the instant
action is a ‘hoax’ that was commenced and/or continued to advance a
political agenda.” App’x 1177. And he argued to our court that the
district court improperly “precluded admissible evidence and cross-
examination of witnesses on core issues relating to … President
Trump’s truth defense on Plaintiff’s defamation claim.” Appellant’s
Br. 40; see also App’x 553 (asserting the defense that “Defendant did
not publish with actual malice”).

       The district court excluded the evidence and limited cross-
examination even though it never addressed this argument. Our court
affirmed the judgment without addressing the relevance of the
excluded evidence to the issues of actual malice or President Trump’s
truth defense. The panel opinion considered whether the evidence
was probative of “credibility” or “bias and motive,” 124 F.4th at 171, 5


4
  Because the purported conduct underlying the lawsuit had allegedly
occurred almost thirty years earlier and “lasted just a few minutes,” Carroll
v. Trump, 124 F.4th 140, 151 (2d Cir. 2024), at the time of his statement
President Trump might not have even remembered any interaction—even
assuming one occurred—let alone still regarded a lawsuit based on such
long-ago events as a politically motivated hoax. Normally, the statute of
limitations would have prevented such a suit, but New York suspended the
statute of limitations and Carroll sued “nine minutes after the [suspension]
became effective.” 650 F. Supp. 3d at 218.
5
  Those holdings were also questionable. The Supreme Court has said that
“[p]roof of bias is almost always relevant because the jury, as finder of fact
and weigher of credibility, has historically been entitled to assess all
evidence which might bear on the accuracy and truth of a witness’
testimony.” United States v. Abel, 469 U.S. 45, 52 (1984). Yet the district court
restricted the defense’s ability to make arguments and to ask questions
about the political organization behind the lawsuit. See App’x 1487, 2032.


                                       4
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but it said nothing about how the excluded evidence “had significant
probative value” with respect to “President Trump’s truth defense,”
Appellant’s Br. 43, and how the exclusion therefore undermined
Trump’s ability to establish that he did not speak with actual malice.

      The actual malice standard famously raises “the plaintiff’s
burden of proof to an almost impossible level.” Dun & Bradstreet, Inc.
v. Greenmoss Builders, Inc., 472 U.S. 749, 771 (1985) (White, J.,
concurring in the judgment). In fact, “the actual malice standard has
evolved from a high bar to recovery into an effective immunity from
liability.” Berisha v. Lawson, 141 S. Ct. 2424, 2428 (2021) (Thomas, J.,
dissenting from the denial of certiorari). Even if a speaker were to
spread an obvious falsehood, a jury still cannot find actual malice
unless “there is sufficient evidence” to establish “the speaker’s
subjective doubts about the truth of the publication.” Church of
Scientology Int’l v. Behar, 238 F.3d 168, 174 (2d Cir. 2001). 6 And
evidence “may negative actual malice by showing that [the]
defendant, though mistaken, had reasonable grounds for belief in the




The panel opinion concluded that such evidence had “minimal, if any
probative value.” 124 F.4th at 173. But “cross-examination directed toward
revealing possible biases, prejudices, or ulterior motives” is “especially
‘important where the evidence consists of the testimony of individuals
whose memory might be faulty or who, in fact, might be … motivated by
malice, vindictiveness, intolerance, prejudice, or jealousy.’” Fuentes v.
Griffin, 829 F.3d 233, 247-48 (2d Cir. 2016) (emphasis omitted) (quoting
Greene v. McElroy, 360 U.S. 474, 496 (1959)).
6 See also Karedes v. Ackerley Grp., Inc., 423 F.3d 107, 114 (2d Cir. 2005)
(“[A]ctual malice ‘relates to whether the defendant published without
believing the truth of the publication.’”) (quoting Robert D. Sack, Sack on
Defamation § 5.5.1.1, at 5-68 (3d ed. 2005)).

                                    5
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truth of the charge contained in the publication.” Crane v. N.Y. World
Telegram Corp., 308 N.Y. 470, 476 (1955). 7

       In this case, the evidence of the political organization behind
the lawsuit would have made it more difficult to conclude that
President Trump subjectively “entertained serious doubts as to the
truth” of his description of the lawsuit as a hoax that was part of a
larger organized political effort. St. Amant v. Thompson, 390 U.S. 727,
731 (1968). But the district court prevented the jury from seeing that
evidence without explaining why it did not undercut the defense that
almost always provides “immunity from liability” even when the
purportedly defamatory statements are less clearly part of political
debates. Berisha, 141 S. Ct. at 2428 (Thomas, J.). The exclusion allowed
Carroll to argue in rebuttal that “Trump needs you to believe that
everyone is lying because they’re in this grand conspiracy to take him
down” but “there is just no evidence of that.” App’x 2740-41. The
panel opinion did not explain why the exclusion of that evidence did
not undermine President Trump’s truth defense—or otherwise why
this case looks so different from the typical one in which the actual




7 See also Sharon v. Time, Inc., 103 F.R.D. 86, 94 (S.D.N.Y. 1984) (“[T]he same
concerns which motivated the state courts’ treatment of ‘common law’
actual malice seem applicable to the admissibility of evidence of past acts
on the question of ‘constitutional’ actual malice as well. TIME may well be
able to argue that its knowledge of General Sharon’s prior ‘vicious brutality
toward Arab civilians’ tends to negate any inference of actual malice
because its knowledge of these past instances shows that TIME personnel
could reasonably have believed the truth of the information published in
the article involved in this case.”).

                                      6
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malice standard applies. 8 I would reconsider this outcome-
determinative question en banc.

                                     II

       The exclusion of evidence relevant to actual malice becomes
even more conspicuous when contrasted with the permissive
approach of the panel opinion to the admission of character evidence
under Rule 404(b).

       The panel said that evidence of a prior bad act—the Access
Hollywood tape—was “sufficiently similar” to “the conduct alleged by
Ms. Carroll” that it was admissible “to show the existence of a pattern
tending to prove the actus reus, and not mere propensity.” 124 F.4th
at 169. And the tape could “corroborate witness testimony” on the
ultimate question of “whether the assault of Ms. Carroll actually
occurred.” Id. at 169-70. The panel’s use of Latin terminology might
obscure the import of this holding: If evidence of past conduct was
introduced to prove or to corroborate the actus reus—that is, the


8
  The statement in support of the denial of rehearing en banc asserts that the
issue of actual malice “was not raised” in this case because President
Trump’s “principal defense at trial was … that his statements about Plaintiff
… were true.” Post at 3. The appellate brief argued that the district court
improperly “precluded admissible evidence and cross-examination of
witnesses on core issues relating to … President Trump’s truth defense on
Plaintiff’s defamation claim.” Appellant’s Br. 40. In the context of a
defamation claim, a “truth defense” is precisely the argument that the
defendant believed the statement was true and therefore did not speak with
actual malice. But even if a “truth defense” were distinct from an “actual
malice defense,” the panel opinion still failed to explain why the evidence
could be excluded despite its relevance to the truth defense. The panel
opinion did not mention the “truth defense” at all. The evidence that tended
to show that President Trump subjectively believed his description to be
true also tended to show that the description was true.

                                      7
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ultimate question of whether he did it—that means the jury was
invited to find that President Trump had committed the alleged acts
because he had purportedly done something similar in the past. But
“[e]vidence of any other crime, wrong, or act is not admissible to prove
a person’s character in order to show that on a particular occasion the
person acted in accordance with the character.” Fed. R. Evid. 404(b)(1)
(emphasis added).

      The panel opinion erroneously sanctioned the admission of
evidence of prior conduct not to prove identity or knowledge—or to
corroborate any fact in dispute aside from the ultimate question of
guilt or innocence—but to show that the defendant had a propensity
for engaging in culpable conduct.

                                    A

      In order to admit evidence of other acts “to establish a pattern
of conduct,” the “extrinsic acts must share ‘unusual characteristics’
with the act charged or represent a ‘unique scheme.’” Berkovich v.
Hicks, 922 F.2d 1018, 1022 (2d Cir. 1991) (quoting United States v.
Benedetto, 571 F.2d 1246, 1249 (2d Cir. 1978)). Such evidence may be
admitted only when the other acts are “so nearly identical in method
as to earmark them as the handiwork of the accused. Here much more
is demanded than the mere repeated commission of crimes of the
same class, such as repeated burglaries or thefts. The device used
must be so unusual and distinctive as to be like a signature.”
Benedetto, 571 F.2d at 1249 (quoting McCormick on Evidence § 190, at
449 (2d ed. 1972)). 9 Only that way will the evidence be offered for a


9
  See also 1 McCormick on Evidence § 190.3 (9th ed. 2025) (“Uncharged
crimes by the accused may be admissible when they are so nearly identical
in method as to earmark them as the handiwork of the accused. The phrase


                                    8
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permissible purpose such as proving “preparation, plan,” or
“identity.” Fed. R. Evid. 404(b)(2).

       We have further explained that “other-crime evidence is only
admissible for the purpose of corroboration if ‘the corroboration is
direct and the matter corroborated is significant,’” United States v.
Mohel, 604 F.2d 748, 754 (2d Cir. 1979) (quoting United States v.
Williams, 577 F.2d 188, 192 (2d Cir. 1978)), such as when a witness has
testified that the defendant claimed to have “prior experience” at
robbing banks, Williams, 577 F.2d at 192.

       The danger against which these doctrines guard is that “[i]f
defined broadly enough, modus operandi evidence can easily become
nothing more than the character evidence that Rule 404(b) prohibits.”
United States v. Smith, 103 F.3d 600, 603 (7th Cir. 1996). 10 For that
reason, courts “construe the modus operandi exception narrowly.”
United States v. Griffith, No. 89-CR-50581, 1992 WL 231087, at *4 (9th
Cir. Sept. 18, 1992) (emphasis added).

       In this case, there was no fact to which Carroll testified that the
prior acts corroborated aside from the ultimate question of guilt. The
panel opinion did not explain “how the challenged testimony
corroborated any consequential testimony except insofar as it tended
to show that appellant was a bad man likely to have committed the

of which authors of detective fiction are fond, modus operandi, may be
employed. Much more is demanded than the mere repeated commission of
crimes of the same class, such as serial murders, robberies or rapes. The
pattern and characteristics of the crimes must be so unusual and distinctive
as to be like a signature.”) (footnotes omitted).
10 See also United States v. Carroll, 207 F.3d 465, 469 (8th Cir. 2000) (“[W]here
[the] alleged modus operandi is really just [a] garden variety criminal act any
inference of identification would be based on [the] forbidden inference of
propensity.”) (internal quotation marks omitted).

                                       9
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crimes charged in the indictment—a clearly impermissible use.”
United States v. O’Connor, 580 F.2d 38, 43 (2d Cir. 1978). 11 When the
panel opinion said that the evidence of prior acts could show “a
pattern tending to prove the actus reus”—and thereby “to confirm that
the alleged sexual assault actually occurred,” 124 F.4th at 169-70—it
meant that a jury would be more likely to conclude that President
Trump committed the alleged acts after it heard that he allegedly
attempted a similar assault in the past. 12 That is propensity evidence,
and it is not admissible under Rule 404(b). See Fed. R. Evid. 404(b)(1);
Mohel, 604 F.2d at 755.

       In fact, the district court recognized that it was admitting
propensity evidence. It explained that “the evidence that Mr. Trump
seeks to keep from the trial jury is to the effect that Mr. Trump
allegedly has abused or attempted to abuse women other than
Ms. Carroll in ways that are the comparable to what he allegedly did
to Ms. Carroll. In other words, Ms. Carroll offers the evidence to show
that Mr. Trump has a propensity for such behavior.” Carroll v. Trump,

11
  See United States v. Bailey, 319 F.3d 514, 520 (D.C. Cir. 2003) (“To decide if
Rule 404(b) evidence is admissible for corroboration, the court must
determine what is being corroborated and how.”).
12
   But see United States v. Scott, 677 F.3d 72, 81 (2d Cir. 2012) (“[T]here is no
such corroboration here, except to the impermissible extent it suggests that,
since Scott had been up to no good before, the detectives were right to think
that he was up to no good again. … The government here has failed to show
to how the recognition testimony was relevant to corroborating the
detectives’ other testimony.”); United States v. Brewer, 915 F.3d 408, 415 (7th
Cir. 2019) (“[A]fter a Rule 404(b) objection, the proponent of the other-act
evidence must demonstrate that the evidence is relevant to a legitimate
purpose through a chain of reasoning that does not rely on the forbidden
inference that the person has a certain character and acted in accordance
with that character on the occasion charged in the case.”) (internal
quotation marks omitted).

                                       10
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660 F. Supp. 3d 196, 199 (S.D.N.Y. 2023) (emphasis omitted). The
district court said that “Mr. Trump almost certainly is correct in
arguing that the quoted statements on the Access Hollywood tape are
offered by plaintiff for only one purpose: to suggest to the jury that
Defendant has a propensity for sexual assault and therefore the
alleged incident with Ms. Carroll must have in fact occurred.” Id. at
201 (internal quotation marks and alteration omitted).

       Because “the Federal Rules of Evidence ordinarily preclude
propensity evidence,” id., the district court initially decided that the
propensity evidence was admissible not under Rule 404 but pursuant
to Rule 415. The district court later retreated from that decision with
respect to the Access Hollywood tape, concluding that “reliance on Rule
415 was unnecessary because the video was offered for a purpose
other than to show the defendant’s propensity.” 683 F. Supp. 3d at 314
n.20. The district court thought that the Access Hollywood tape
amounted to “a confession” because “one of the women he referred
to in the video could have been Ms. Carroll.” Id. For that reason, the
district court “did not include the Access Hollywood tape in its
instructions to the jury on the evidence” admitted under Rule 415. Id.

       The panel opinion could not defend the eccentric conclusion of
the district court that the tape was admissible as a confession. 13 But
in place of that erroneous conclusion the panel opinion adopted a
rationale for admitting the propensity evidence under Rule 404 that
just as clearly conflicts with applicable precedent.




13
   See 124 F.4th at 167 (“We are not fully persuaded by the district court’s
second basis for admitting the recording—that the tape captured a
‘confession.’”) (quoting 683 F. Supp. 3d at 326).

                                    11
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                                   B

      Even on its own terms, the argument of the panel opinion does
not make sense. The Access Hollywood tape does not describe the
purported pattern that the panel opinion identified. According to the
panel, the tape reflected a pattern of conduct in which President
Trump “engaged in an ordinary conversation with a woman he barely
knew, then abruptly lunged at her in a semi-public place and
proceeded to kiss and forcefully touch her without her consent.” 124
F.4th at 169.

      In the tape, Trump recounts an interaction with Nancy O’Dell,
a co-host of Access Hollywood, with whom he went furniture shopping
when she was visiting Palm Beach. At some unspecified time and
place after the shopping excursion, he “moved on her” but “couldn’t
get there.” App’x 2883. Then later in the tape he states that “I’m
automatically attracted to beautiful” women and will “start kissing
them” because “when you’re a star they let you do it.” Id.

      There is no indication in the tape that this was a woman he
barely knew, that he was engaged in “ordinary conversation” before
he “abruptly lunged at her,” that he “lunged” at her at all, that he did
so in a “semi-public place,” or that he forcefully touched her without
her consent. On this last point, the panel opinion at least
acknowledged that the tape specifies that “they let you do it” but the
panel concluded that the jury could still determine that some conduct
was nonconsensual. See 124 F.4th at 167-68. The panel opinion did not
explain how the Access Hollywood tape reflects the other features of
the purported pattern.

      Even if the tape had reflected the purported pattern—of
conversing in a semi-public place and then making an unwanted
advance—it still would qualify as propensity evidence. Our

                                  12
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“inclusionary approach” to Rule 404(b) “does not invite the
government ‘to offer, carte blanche, any prior act of the defendant in
the same category of crime.’” United States v. McCallum, 584 F.3d 471,
475 (2d Cir. 2009) (quoting United States v. Garcia, 291 F.3d 127, 137 (2d
Cir. 2002)). Evidence of prior acts “is admissible” to “prove other like
crimes by the accused” only when those crimes are “so nearly
identical in method as to earmark them as the handiwork of the
accused.” Benedetto, 571 F.2d at 1249. We demand “much more … than
the mere repeated commission of crimes of the same class, such as
repeated burglaries or thefts,” and require that the conduct “be so
unusual and distinctive as to be like a signature.” Id.

       The Access Hollywood tape does not describe the defendant
making an unwanted advance with a new acquaintance in a semi-
public place. But even if it did, that conduct would not be “so unusual
and distinctive as to be like a signature.” Id. And even if that
indistinctive conduct amounted to a modus operandi, it still would
qualify as propensity evidence because it was not offered for a
permissible purpose such as proving “preparation, plan,” or
“identity.” Fed. R. Evid. 404(b)(2). As in other cases in which we have
held the admission of prior acts evidence to be impermissible,
“identity had not been placed in issue here.” O’Connor, 580 F.2d at 42.
The trial focused on whether an assault had occurred; if it had, there
was no question about the identity of the assailant. 14

       If the panel opinion remains a precedent of our court, a future
plaintiff or the government will be able to introduce evidence of prior


14See Benedetto, 571 F.2d at 1249 (“Defendant did not claim that he took the
money from the four companies named in the indictment innocently or
mistakenly. He claimed that he did not take the money at all. Knowledge
and intent, while technically at issue, were not really in dispute.”).

                                    13
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conduct in which a defendant went on a mundane outing and
sometime thereafter made a sexual advance. If that generic
description of misconduct is “so unusual and distinctive,” Benedetto,
571 F.2d at 1249, that it may be introduced “to prove the actus reus,
and not mere propensity,” Carroll, 124 F.4th at 169, then the panel
opinion will have dramatic effects with respect to a range of alleged
conduct. Such a low bar for the distinctiveness of prior conduct under
Rule 404(b) effectively eliminates the prohibition on propensity
evidence. I would rehear the case to reaffirm the precedents that
establish the prohibition.

                                    III

       Our court has decided that Rules 413-15 create “an exception to
the general ‘ban against propensity evidence.’” United States v.
Schaffer, 851 F.3d 166, 177 (2d Cir. 2017) (quoting United States v.
Enjady, 134 F.3d 1427, 1432 (10th Cir. 1998)). We have done so based
largely on legislative history that purportedly shows that, “[i]n
passing Rule 413, Congress considered ‘knowledge that the
defendant has committed rapes on other occasions to be critical in
assessing the relative plausibility of sexual assault claims and
accurately deciding cases that would otherwise become unresolvable
swearing matches.’” Id. at 178 (quoting Enjady, 134 F.3d at 1431
(quoting in turn 140 Cong. Rec. S12990-01, S12990 (daily ed. Sept. 20,
1994) (statement of Sen. Robert Dole))). It is a questionable method of
interpretation to employ legislative history to override the express
requirements of the rules, but at least we have identified a possible
textual basis for the same conclusion. 15



 See Schaffer, 851 F.3d at 177-78 (“Unlike Federal Rule of Evidence 404(b),
15

which allows prior bad act evidence to be used for purposes other than to


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       The panel opinion, however, extended the reliance on
legislative history to exempt Rules 413-15 even from the normal
requirements of Rule 403. We have said that “[b]oth Rule 609 and Rule
403 … oblige the trial court to assess the probative value of every prior
conviction offered in evidence and the remoteness of a conviction,
whatever its age, is always pertinent to this assessment.” United States
v. Jacques, 684 F.3d 324, 327 (2d Cir. 2012) (quoting United States v.
Figueroa, 618 F.2d 934, 942 (2d Cir. 1980)). As a result, when testimony
concerns events that are remote in time, that “remoteness reduces the
reliability of testimony as to the events’ occurrences.” Id.

       We have specifically held that Rule 403 applies to “evidence
offered under Rule 414,” which “does not mandate the admission of
the evidence or eliminate the need for the court to conduct the
analysis required under Rule 403.” United States v. Larson, 112 F.3d
600, 605 (2d Cir. 1997). In this case—which involved witness
testimony about events that purportedly occurred in 1978 and 2005—
one would expect Rule 403 to require the standard evaluation of the
probative value of the evidence in light of its remoteness.

       But the panel opinion held that it did not. The panel announced
that it would “apply Rules 413-415 in a manner that effectuates
Congress’s intent,” and it followed the district court in recounting
that “[o]ne of the original sponsors of the legislation proposing Rules
413-415 explained that ‘evidence of other sex offenses by the
defendant is often probative and properly admitted, notwithstanding
very substantial lapses of time in relation to the charged offense or offenses.’”

show a defendant’s propensity to commit a particular crime, Rule 413
permits the jury to consider the evidence ‘on any matter to which it is
relevant.’ In other words, a prosecutor may use evidence of prior sexual
assaults precisely to show that a defendant has a pattern or propensity for
committing sexual assault.”).

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124 F.4th at 170 (emphasis in original) (quoting 140 Cong. Rec. 23603
(1994) (remarks of Rep. Molinari)). Based on “this express intent” of
an individual legislator, the panel opinion concluded that “the time
lapse between the alleged acts does not negate the probative value of
the evidence of those acts to the degree that would be required to find
an abuse of discretion in admitting them for the jury’s consideration.”
Id.

                                      A

        This approach—of relying on statements in the congressional
record to alter the effect of the rules—represents a departure from
how the rules are normally applied. The Supreme Court has told us
that “[t]here is no need to consult extratextual sources when the
meaning of a statute’s terms is clear” and that “extratextual sources”
may not “overcome those terms.” McGirt v. Oklahoma, 591 U.S. 894,
916 (2020). As in statutory interpretation, “[w]e give the Federal Rules
of Civil Procedure [and of Evidence] their plain meaning, and
generally with them as with a statute, when we find the terms
unambiguous, judicial inquiry is complete.” Pavelic & LeFlore v.
Marvel Ent. Grp., 493 U.S. 120, 123 (1989) (internal quotation marks,
alterations, and citation omitted). 16 In applying the plain meaning of
the rules, we cannot override the text with expressions of legislative
intent. “Like a judicial opinion and like a statute, the promulgated
Rule says what it says, regardless of the intent of its drafters.” Tome v.
United States, 513 U.S. 150, 168 (1995) (Scalia, J., concurring in part and
concurring in the judgment). “The text of a rule thus proposed and


16 See also Bus. Guides, Inc. v. Chromatic Commc’ns Enters., Inc., 498 U.S. 533,
540-41 (1991) (“As with a statute, our inquiry is complete if we find the text
of the Rule to be clear and unambiguous.”); In re Chalasani, 92 F.3d 1300,
1312 (2d Cir. 1996) (“[W]e must also accord the rules their plain meaning.”).

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reviewed limits judicial inventiveness,” Amchem Prods., Inc. v.
Windsor, 521 U.S. 591, 620 (1997), because “[w]e have no power to
rewrite the Rules by judicial interpretations,” Harris v. Nelson, 394 U.S.
286, 298 (1969).

      We and other courts have emphasized that the Rule 403
analysis is especially important—and, if anything, should be more
rigorous—when evidence is offered pursuant to Rules 413-15. “[T]he
protections provided in Rule 403, which we … explicitly hold apply
to evidence being offered pursuant to Rule 413, effectively mitigate
the danger of unfair prejudice resulting from the admission of
propensity evidence in sexual-assault cases” because “[w]here in a
particular instance the admission of evidence of prior sexual assaults
would create ‘undue prejudice’ and threaten due process, district
courts can and should, by operation of Rule 403, exclude that evidence
and ensure the defendant’s right to a fair trial.” Schaffer, 851 F.3d at
180. “Because of the inherent strength of the evidence that is covered
by Fed. R. Evid. 415, when putting this type of evidence through the
Fed. R. Evid. 403 microscope, a court should pay ‘careful attention to
both the significant probative value and the strong prejudicial
qualities’ of that evidence.” Doe ex rel. Rudy-Glanzer v. Glanzer,
232 F.3d 1258, 1268-69 (9th Cir. 2000) (quoting United States v. Guardia,
135 F.3d 1326, 1330 (10th Cir. 1998)).

      Appellate courts have emphasized that “a court must perform
the same 403 analysis that it does in any other context … with careful
attention to both the significant probative value and the strong
prejudicial qualities inherent in all evidence submitted under 413.”
Guardia, 135 F.3d at 1330 (emphasis added).

      The panel opinion, by contrast, held that the Rule 403 analysis
must be different and weaker when evidence is offered pursuant to


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Rules 413-15. In fact, the panel opinion did not conduct the
remoteness analysis that Rule 403 requires at all. The panel
considered only whether “the time lapse between the alleged acts” could
“negate the probative value of the evidence of those acts.” 124 F.4th
at 170 (emphasis added). 17 But President Trump argued that Rule 403
required the exclusion of testimony based on the remoteness in time
between the underlying incident and the testimony describing the
incident. 18 That is the whole point of the remoteness analysis under
Rule 403: Because memories fade and evidence is lost, prior acts may
be “too remote in time to have any probative value”; even if testimony
about those events “would be admissible under Rule 414,” the
“probative value is substantially outweighed by the resulting danger
of unfair prejudice to [the defendant] in having to defend allegations
so remote in time.” Larson, 112 F.3d at 602 (describing the reasoning
of the district court in excluding testimony that “would have
described acts that occurred ‘more than 21 years ago’”).


17 The statement suggests that the “full context” of the panel opinion would
show that it “properly analyzed … the lapse in time between the alleged
acts and the testimony.” Post at 9 n.8. It does not. The panel opinion quoted
legislative history addressing the probative value of “evidence of other sex
offenses by the defendant … notwithstanding very substantial lapses of time in
relation to the charged offense or offenses.” 124 F.4th at 170 (emphasis in
original). It concluded that “the time lapse between the alleged acts does not
negate the probative value of the evidence of those acts” and cited three
cases in support of that proposition. Id. (emphasis added). None of those
cases sanctioned the admission of testimony from forty-five years before
trial. One held it was appropriate to exclude testimony that “would have
described acts that occurred more than 21 years ago.” Larson, 112 F.3d at
602 (internal quotation marks omitted).
18
  See Appellant’s Br. 37 (“The remoteness of the alleged events that Leeds
and Stoynoff described undercut the relevance and reliability of this
evidence.”) (internal quotation marks omitted).

                                     18
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      In this case, the district court admitted testimony about events
that occurred as much as forty-five years before the testimony was
delivered at trial—over objections that those events were too remote
under Rule 403. The panel opinion did not even address that
argument, compounding its error of creating a novel exception to
Rule 403.

                                   B

      In fact, there is every reason to believe that testimony in this
case would have failed the standard Rule 403 analysis if either the
district court or the appellate panel had been willing to apply it.
Jessica Leeds testified that, approximately forty-five years earlier, she
sat next to President Trump on an airplane, and he “grabbed [her]
with his hands, tried to kiss [her], grabbed [her] breasts, and pulled
[her] towards him.” App’x 2131. She said that the entire encounter
lasted “just a few seconds.” Id. at 2103. The district court did not
address     Trump’s   argument    that the     Leeds   testimony    was
inadmissible under Rule 403 because it was “subject to memory
distortion” given that “the alleged events occurred so long ago.” Id.
at 80. Instead, the district court invoked the legislative history behind
Rule 415 to conclude that the normal “limitations of Rule 403” do not
apply to evidence admitted pursuant to Rule 415. 660 F. Supp. 3d at
208; see also id. at 208 n.30 (citing 140 Cong. Rec. at S12990 (statement
of Sen. Robert Dole)). Rule 403, according to the district court, “must
be applied with due regard for Congress’s deliberate failure to impose
temporal limits.” Id. at 208.

      When courts apply the normal rules of evidence, Rule 403
excludes testimony that has “become ‘too attenuated’ to be relevant
or too remote to render the witness’s memory reliable.” United States
v. Curley, 639 F.3d 50, 59 (2d Cir. 2011) (quoting Larson, 112 F.3d at


                                   19
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605). Leeds could not remember the year in which the airplane
encounter occurred. She said it was “I think 1979 or ’8.” App’x 2098.
When asked if she could identify a more precise date so that President
Trump might be able to check his travel records, she said that she
“really can’t” because “[i]t’s too far” in the past. Id. at 2130. She could
not even remember the city in which she boarded the airplane. See id.
at 2098.

      We have never held that Rule 403 permits witness testimony
based on an incomplete memory of a brief interaction that occurred
forty-five years earlier. We have suggested that a district court
properly excluded testimony—which was otherwise admissible under
Rule 414—that “would have described acts that occurred more than
21 years ago” and therefore concerned events “too remote in time to
have any probative value” and that would create a “danger of unfair
prejudice to [a defendant] in having to defend allegations so remote
in time.” Larson, 112 F.3d at 602 (internal quotation marks omitted).
In that case, Rule 403 required the exclusion of the testimony because
the remoteness of the underlying events meant that the risk of unfair
prejudice outweighed the probative value. Id. At the same time, we
said that a district court could permissibly allow testimony that
“covered events 16-20 years prior to trial” based on “strong indicators
of the reliability of the witness’s memory,” such as “the traumatic
nature of the events and their repetition over a span of four years.”
Larson, 112 F.3d at 605.

      In this case, there were no strong indicators that the witness’s
memory was reliable. The events were not repeated over the course
of four years but allegedly occurred within a few seconds on a flight
coming from somewhere the witness could not remember in a year
the witness could not remember but that was over four decades
earlier. The lack of a full memory of the events created prejudice

                                    20
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because Trump could not introduce evidence of his whereabouts at
that time or challenge the characterization of his conduct in the half-
remembered encounter.

      We have upheld the exclusion under Rule 403 of testimony
about conduct “alleged to have occurred almost, or over, twenty-five
years ago” because “[s]uch remoteness reduces the reliability of
testimony as to the events’ occurrences” and “the danger of
unreliability is somewhat enhanced by the lack of a relatively
contemporaneous adjudication.” Jacques, 684 F.3d at 327. In this case,
the remoteness was much greater and there was no contemporaneous
adjudication.

      If the district court had conducted the analysis that Rule 403
requires, it either would have excluded the testimony or it would
have issued a decision at the outer boundary of when remote
testimony has been put before a jury. Cf. Doe v. Lima, No. 15-CV-2953,
2020 WL 728813, at *6 (S.D.N.Y. Feb. 13, 2020) (excluding evidence of
“robbery offenses” that “occurred more than 30 years ago” because
“none of the prior offenses satisfies Rule 403”). But the district court
did not even conduct that analysis, and our court has now excused
the district courts in our circuit from applying the analysis that Rule
403 normally requires to evidence admitted under Rules 413-15. The
panel opinion conflicts with our precedent holding, “like the Eighth,
Ninth, and Tenth Circuits before us, that the protections provided in
Rule 403 … apply to evidence being offered pursuant to Rule 413”
and must be enforced to “mitigate the danger of unfair prejudice
resulting from the admission of propensity evidence in sexual-assault
cases.” Schaffer, 851 F.3d at 180.

      This is an important protection. “Exclusion of proof of other
acts that are too remote in time caters principally to the dual concerns


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for relevance and reliability.” Larson, 112 F.3d at 605. Rule 403 requires
an evaluation to address “these concerns” that “must be made on a
case-by-case basis to determine whether the significance of the prior
acts has become too attenuated and whether the memories of the
witnesses has likely become too frail.” Id. I would rehear this case en
banc to restore our precedent holding that Rule 403 requires this
evaluation and to remand to the district court to conduct it.

                                    IV

      The panel opinion treated Rules 413-15 anomalously in another
way. The district court recognized that “[i]n order to be admissible
under Rule 415, evidence of a sexual assault of a person other than the
plaintiff must also have been a federal or state crime.” 660 F. Supp. 3d
at 203 n.12. Rule 413(d) defines “sexual assault” for the purposes of
Rules 413 and 415 as a “crime under federal law or under state law …
involving” (1) “any conduct prohibited by 18 U.S.C. chapter 109A,”
(2) “contact, without consent, between any part of the defendant’s
body—or an object—and another person’s genitals or anus,”
(3) “contact, without consent, between the defendant’s genitals or
anus and any part of another person’s body,” (4) “deriving sexual
pleasure or gratification from inflicting death, bodily injury, or
physical pain on another person,” or (5) “an attempt or conspiracy to
engage in” the enumerated conduct. Fed. R. Evid. 413(d).

      The plain language of Rule 413(d) provides that a crime of
sexual assault must involve the violation of a statute that criminalizes
conduct constitutive of sexual assault. “When choosing among
interpretations of a statutory definition, the ‘ordinary meaning’ of the
‘defined term’ is an important contextual clue.” Delligatti v. United
States, 145 S. Ct. 797, 808 (2025) (quoting Bond v. United States, 572 U.S.
844, 861 (2014)). In Rule 413(d), the defined term is “sexual assault,”


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so we must “prefer interpretations” of the definition that “encompass
prototypical ‘[sexual assaults]’ over those that do not.” Id. If the
definition “is to have a reasonable relationship to the term it defines,
it must encompass cases where the offender” engages in conduct that
violates a federal or state law criminalizing (1) the sexual misconduct
enumerated in Rule 413(d)(1)-(4), or (2) the attempts or conspiracies
to violate such laws that Rule 413(d)(5) identifies. The words
“attempt” and “conspiracy,” moreover, are terms of art referring to
legal standards. For that reason, the terms have an established legal
meaning. 19

       The panel opinion, however, held that the federal or state law
“crime” of “sexual assault” need not “involv[e]” sexual assault at all.
The panel said that the testimony concerning the airplane encounter
was admissible under Rule 415 because “[i]n 1978 and 1979, just as it
is now, it was a federal crime to commit a simple assault on an
airplane. And on this record a jury could have reasonably found that
Mr. Trump committed a simple assault.” 124 F.4th at 160 (citing 18
U.S.C. § 113(e) (1976)). The panel opinion concluded that “a simple
assault on an airplane” qualified as a sexual assault under Rule 413(d)
because a jury could conclude that the alleged simple assault—which
did not involve the touching of another’s sexual organs—in fact
involved an attempt to engage in a sexual touching. 124 F.4th at 160.
In this way, the attempted sexual assault on which the panel relied to

19
   See Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation
of Legal Texts 73 (2012) (“Sometimes context indicates that a technical
meaning applies. … And when the law is the subject, ordinary legal
meaning is to be expected, which often differs from common meaning.”);
see also Hall v. Hall, 584 U.S. 59, 73 (2018) (“[I]f a word is obviously
transplanted from another legal source, whether the common law or other
legislation, it brings the old soil with it.”) (quoting Felix Frankfurter, Some
Reflections on the Reading of Statutes, 47 Colum. L. Rev. 527, 537 (1947)).

                                      23
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satisfy Rule 413(d) was a completed simple assault. The panel opinion
did not require a showing that the “attempt” under Rule 413(d)(5)
qualified as a “crime under federal law or under state law” that
criminalizes the attempted sexual assault.

       Thus, even if a defendant did not commit an attempted sexual
assault under any federal or state law, the panel opinion would still
conclude that the defendant committed a “sexual assault” under Rule
413(d) based on speculation that he might have wanted to reach for
other body parts while committing a simple assault.

       That is a bizarre way to apply the definition of “sexual assault”
in Rule 413(d). It means that a crime that does not prototypically
involve the enumerated conduct nevertheless qualifies as a sexual
assault. And even though Rule 413(d)(5) identifies the legal standard
of attempt, the panel opinion allowed conduct which does not meet
that standard to qualify as an attempted sexual assault.

                                     A

       Under no reasonable understanding of the definition of “sexual
assault” in Rule 413(d) would committing a simple assault under
§ 113(e) qualify as a sexual assault. The conduct that § 113(e)
proscribed did not involve the enumerated conduct defining a sexual
assault crime in Rule 413(d). The district court did not rely on this
“simple assault” theory, 20 and the panel opinion provided no
explanation for introducing its counterintuitive conclusion that a
simple assault on an airplane qualifies as a “crime” of “sexual assault”
under the Federal Rules of Evidence.



20
  See 124 F.4th at 161 n.13 (“The district court did not base its decision to
admit the Leeds testimony on these specific statutes.”).

                                     24
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       Neither the panel opinion nor the underlying trial that it
approved can be reconciled with the plain language of the federal
rules. The district court admitted the Stoynoff testimony and the
Leeds testimony pursuant to Rule 415. The district court did not rely
on Rule 415 to admit the Access Hollywood tape, but the panel opinion
held that it could have. Yet none of this evidence plausibly qualifies
as “evidence that the party committed any other sexual assault”
under the rule. Fed. R. Evid. 415(a).

       The panel opinion and the district court admitted evidence
that—those courts speculated—might have been an “attempt” to
engage in the sort of conduct Rule 413(d) describes. But Rule 415 does
not allow the admission of evidence of a freestanding “attempt” to
engage in such conduct. The evidence must show that the party
“committed” a “crime under federal law or under state law …
involving” an “attempt or conspiracy to engage in conduct described
in subparagraphs (1)-(4).” Fed. R. Evid. 415(a), 413(d). In other words,
the evidence must show an attempt that is itself the commission of a
crime. 21 Neither the panel opinion nor the district court required the
evidence to show the commission of a crime involving attempted
sexual assault.

       The statement suggests that other circuits “have rejected
precisely the argument that the dissent advances.” Post at 4. But the


21
   The statement insists that an “attempt” under Rule 413(d)(5) does not
itself need to be a crime. Post at 6. But that ignores the language of Rule
413(d) providing that the enumerated conduct in all five subsections,
including an attempt, must be a “crime under federal law or under state
law.” As the statement itself explains, “[t]o qualify as a sexual assault under
Rule 413(d),” the prior conduct “must be (i) ‘a crime under federal law or
under state law’ that (ii) involves any conduct matching at least one of five
listed descriptions.” Id. at 4 n.3 (citing Fed. R. Evid. 413(d), 413(d)(1)-(5)).

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cases it cites all address prior charged crimes that prototypically—
and did—involve criminal sexual assault. 22 Here, the panel opinion
did not require that the prior uncharged conduct shown to the jury
involve a criminal sexual assault. The statement invokes a familiar
objection to the “categorical approach” to classifying criminal
conduct according to enumerated elements—an approach on which
this dissent does not rely. That approach sometimes leads to the
counterintuitive result that a crime which prototypically involves the
use of force will not be considered a “crime of violence” based on the
possibility that its elements could be met without the use of force. See


22
   See United States v. Ahmed, 119 F.4th 564, 567-68 (8th Cir. 2024) (holding,
when the defendant was indicted for kidnapping two women for “sexual
gratification,” that for Rule 413 “to apply, Ahmed need not have been
charged with any particular offense. What matters is whether the offense
he was charged with involved conduct that Rule 413(d) deems to be sexual
assault. Ahmed’s kidnapping offenses did involve that kind of conduct.”);
United States v. Foley, 740 F.3d 1079, 1086-87 (7th Cir. 2014) (“Foley was
charged with child pornography production, distribution, and possession
under 18 U.S.C. chapter 110, as well as transporting a minor across state
lines to engage in a sex act under 18 U.S.C. § 2423(a) …. [T]he government
explained that Foley’s child pornography crimes that were charged under
18 U.S.C. chapter 110 involved his molestation of Minor Male A on several
occasions. For purposes of its Rule 413 analysis, the district court found that
although Foley was charged under 18 U.S.C. chapter 110, his crimes
involved conduct that was also prohibited under 18 U.S.C. chapter 109A, so
his crimes would satisfy the first definition of ‘sexual assault’ under Rule
413(d)(1).”); United States v. Batton, 602 F.3d 1191, 1197 (10th Cir. 2010)
(“Batton is charged with knowingly transporting J.D. across state lines with
the intent of engaging in illicit sexual activity. The illicit sexual activities
involv[ed] genital contact …. Moreover, the charged sexual activity also
meets Rule 413’s internal definition of sexual assault.”); United States v.
Blazek, 431 F.3d 1104, 1108 (8th Cir. 2005) (“At trial … the government
introduced evidence of his 1997 conviction for Abusive Sexual Contact with
a Minor in violation of 18 U.S.C. § 2244(a)(1).”).

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post at 5-6; United States v. Scott, 990 F.3d 94, 126 (2d Cir. 2021) (Park,
J., concurring). The problem here, however, is that the approach of the
panel opinion generates counterintuitive results in the opposite
direction: crimes that neither prototypically nor actually involved
criminal sexual assault still qualify as admissible evidence of sexual
assault.

                                      B

       The district court admitted the Stoynoff testimony based on its
conclusion that the testimony qualified as evidence of a sexual assault
under Rule 415. The district court provided two reasons for that
conclusion. In its view, the Stoynoff testimony described conduct that
a reasonable jury could find was (1) a crime under Florida law, and
(2) an attempt to engage in the sexual conduct that Rule 413(d)(2)
describes. See 660 F. Supp. 3d at 205-07. Neither conclusion is
defensible.

       Stoynoff testified that President Trump put “his hands on my
shoulders and he pushe[d] me against the wall and start[ed] kissing
me, holding me against the wall” in a room at Mar-a-Lago. App’x
2350. The district court decided that the testimony described an
attempt to violate the Florida sexual battery statute. See 660
F. Supp. 3d at 205 n.19 (citing Fla. Stat. § 794.011(5)(b)). 23 But Stoynoff
never mentioned an attempt to touch her genitals. The district court
nevertheless concluded that the alleged conduct could qualify as an




23 See also 660 F. Supp. 3d at 205 (“Florida law defines ‘sexual battery’ as
‘oral, anal, or female genital penetration by, or union with, the sexual organ
of another or the anal or female genital penetration of another by any other
object.’”) (quoting Fla. Stat. § 794.011(1)(j)).

                                     27
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attempted sexual battery under Florida law. 24 But the Florida courts
disagree. In Rogers v. State, the Florida Supreme Court reversed a
conviction for attempted sexual battery in which an armed defendant
grabbed the victim’s breast and ordered her to remove her clothes.
The Florida Supreme Court explained that “these acts do not rise to
the level of an overt act toward the commission of a sexual battery.”
660 So. 2d 237, 241 (Fla. 1995). The Florida courts have warned that
evidence of “improper touching,” even on “multiple occasions,” does
not establish an attempted sexual battery. Ellis v. State, 754 So. 2d 887,
887 (Fla. 5th D.C.A. 2000). If such conduct were sufficient to establish
attempt, “every case of improper touching can be prosecuted as an
attempted sexual battery.” Id. at 888.

       Even the case on which the district court relied for the attempt
standard under Florida law explains that “[t]he act referred to is ‘an
overt act’ and ‘must reach far enough toward accomplishing the
desired result to amount to commencement of the consummation of
the crime.’” Lockley, 632 F.3d at 1244 n.6 (citation omitted) (quoting
Morehead v. State, 556 So. 2d 523, 524 (Fla. 5th D.C.A. 1990)). Under
that standard—rather than the truncated version that appears in the
district court opinion—the conduct Stoynoff described does not
amount to an attempted sexual battery.

       The district court decided in the alternative that the Stoynoff
testimony described a violation of the Florida general battery statute
because “Mr. Trump’s alleged kissing and groping of Ms. Stoynoff”



24
   See 660 F. Supp. 3d at 205 (“[A]ttempt under Florida law requires the
defendant to commit ‘any act toward the commission of such [crime], but
fails in the perpetration or is intercepted or prevented in the execution
thereof.’”) (quoting United States v. Lockley, 632 F.3d 1238, 1245 n.6 (11th Cir.
2011) (quoting in turn Fla. Stat. § 777.04(1))).

                                       28
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amounted to touching her “against her will.” 660 F. Supp. 3d at 205. 25
And Trump might have acted to commit that battery “for the purpose
of committing a state crime involving contact, without consent,
between any part of Mr. Trump’s body and Ms. Stoynoff’s genitals.”
660 F. Supp. 3d at 205 (internal quotation marks and alterations
omitted). But a violation of the general battery statute is not plausibly
“a crime under federal law or under state law” of “sexual assault.”
Fed. R. Evid. 413(d). And despite the requirement of Rules 415 and
413(d) that evidence of an “attempt” must show the commission of a
“crime under federal law or under state law”—in other words, an
attempted sexual assault crime—the district court endorsed the
theory that a completed general battery might also serve as a
freestanding “attempt” to engage in the type of conduct that Rule
413(d) describes. 26


25
   See 660 F. Supp. 3d at 205 (“It is a crime under Florida law ‘actually and
intentionally to touch or strike another person against the will of the
other.’”) (alterations omitted) (quoting Fla. Stat. § 784.03(1)(a)).
26 To satisfy that questionable theory, the district court engaged in further
questionable reasoning. The district court noted Stoynoff’s pre-trial
statement that Trump was “lying when he denied ‘groping’ her without her
consent—in other words, that he ‘groped’ her.” 660 F. Supp. 3d at 205. But
the district court acknowledged that “Rule 413(d) is not that broad” as to
allow evidence of any “groping” because the rule requires contact “only
with particular parts of the anatomy.” Id. at 206. The district court
nevertheless concluded that a jury could consider evidence of other prior acts
to supplement Stoynoff’s testimony: “the Access Hollywood tape and the
testimony of Ms. Leeds are additional evidence that a jury would be
entitled to consider in deciding whether to infer that the ultimate goal of
Mr. Trump’s alleged actions with Ms. Stoynoff was to bring his hands or
other parts of his anatomy into contact with Ms. Stoynoff’s most private
[parts].” Id. Thus, even under the district court’s tendentious interpretation
of Rule 415, the Stoynoff testimony still did not qualify as “evidence that


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       The panel opinion upheld the admission of the Stoynoff
testimony based on the district court’s theory that the testimony
described “a crime under Florida law” and a separate, freestanding
“attempt, under Rule 413(d)(5), to engage in conduct described in
Rule 413(d)(2).” 124 F.4th at 163. It bears reiterating that Rule 413(d)
does not allow the admission of evidence that a court speculates could
be an attempt to engage in the conduct the rule describes. The
evidence must show an attempt that is itself the commission of a
crime. Nevertheless, the panel opinion indulged in speculation—
unmoored from the elements of any crime—about whether a jury
could have found “that Mr. Trump intended to bring his body into
contact with Ms. Stoynoff’s genitals and that he took substantial steps
toward doing so.” 124 F.4th at 163.

       In addition to that theory, the panel opinion held that the
Stoynoff testimony could also have been admitted as an attempt to
violate 18 U.S.C. § 2244(b)—that is, “to ‘knowingly engage in sexual
contact with another person without that other person’s permission.’”




the party committed any other sexual assault,” Fed. R. Evid. 415, without
supplementing it with additional evidence of prior acts. That approach to
Rule 415 was doubly erroneous: Before Rule 415 allows the district court to
place evidence of a prior sexual assault before the jury, the district court
must determine whether a hypothetical reasonable jury could conclude that
the evidence shows the commission of a crime of sexual assault. In
conducting that gate-keeping analysis, the district court may not assume—
in a circular fashion—that the hypothetical jury has seen all the other
evidence before the actual jury. In effect, the district court determined that
the jury could rely on evidence of the charged conduct to infer that evidence
of prior conduct could be admitted as evidence to prove the charged
conduct.

                                     30
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124 F.4th at 164 (alteration omitted) (quoting 18 U.S.C. § 2244(b)). 27
But that theory does not make sense either.

       At trial, Stoynoff retreated from her pre-trial statement about
having been “groped.” See App’x 2348-53. She instead testified that
Trump put “his hands on my shoulders.” Id. at 2350. Section 2244(b)
refers to contact involving another person’s “genitalia, anus, groin,
breast, inner thigh, or buttocks.” 18 U.S.C. § 2246(3). It does not
mention shoulders. And we know from the federal case law that
touching the shoulders and kissing does not amount to a “substantial
step” toward unwanted sexual contact. “Generally, courts have held
that mere solicitation and fully clothed but sexually suggestive acts
are insufficient to constitute attempted ‘sexual acts.’” United States v.
Blue Bird, 372 F.3d 989, 993 (8th Cir. 2004). The Eighth Circuit has even
held that there was no attempted sexual contact when the defendant
“held [the victim’s] hand, rubbed her stomach, pushed her t-shirt up
to just below her breasts, kissed her, and said, ‘Let’s do it.’” Id. at 992.
Acts that were still more suggestive have been held not to qualify. 28

       The panel opinion in this case, however, held that a jury could
reasonably conclude that a defendant committed the crime of
attempted abusive sexual contact under § 2244 when he touched a


27
   See also 124 F.4th at 164 (noting that federal law defines “sexual contact”
as “the intentional touching, either directly or through the clothing, of the
genitalia, anus, groin, breast, inner thigh, or buttocks of any person with an
intent to abuse, humiliate, harass, degrade, or arouse or gratify the sexual
desire of any person”) (quoting 18 U.S.C. § 2246(3)).
28
   See, e.g., United States v. Hayward, 359 F.3d 631, 640 (3d Cir. 2004) (“The
ambiguous and equivocal act of pushing a victim’s head toward one’s
clothed penis does not meet any definition of a ‘sexual act’ as defined in 18
U.S.C. § 2246(2) and does not constitute a substantial step toward achieving
‘contact between the mouth and the penis’ under 18 U.S.C. § 2246(2)(B).”).

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woman’s shoulders, kissed her against a wall, and—after desisting—
made a suggestive remark. See 124 F.4th at 163-64. That decision is an
outlier among reported federal cases.

      Even the same district judge who presided over the trial in this
case has previously recognized that testimony about such conduct
does not qualify as admissible evidence of sexual assault under Rule
415. In another case involving alleged sexual misconduct, Rapp v.
Fowler, the plaintiff sought to introduce testimony that the defendant
had, on a prior occasion, sat next to a 16-year-old and put his hand
“on my leg … about two inches above my knee.” No. 20-CV-9586,
2022 WL 5243030, at *2 (S.D.N.Y. Oct. 6, 2022) (Kaplan, J.). The district
court explained:

      The incident, assuming it occurred, is not said to have
      involved any “touching, either directly or through the
      clothing, of the genitalia, anus, groin, breast, inner thigh,
      or buttocks.” It therefore was not a “sexual contact”
      within the meaning of Section 2246(3). It thus was not a
      “sexual contact” for purposes of chapter 109A and not
      proscribed by virtue of Section 2244. The [proposed]
      testimony accordingly is not evidence of an “other sexual
      assault” within the meaning of Rule 415(a), regardless of
      any question of intent. It is not admissible under Rule
      415(a).
Id. (emphasis added). In that case, the district court did not indulge in
speculation that the actions might be “suggestive of a plan”
eventually to reach the genitals—or even the inner thigh.
660 F. Supp. 3d at 206. And the district court did not consider whether
the conduct might qualify as a general battery that, in conjunction




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with such a plan, could satisfy Rule 415. 29 Those novel theories have
been applied only in this outlier case.

                                     C

       The district court determined that the Leeds testimony
described a sexual assault because the account “reasonably could be
regarded as describing unconsented-to sexual contact by Mr. Trump
and also as an attempt by Mr. Trump to bring at least his hands, and
perhaps other parts of his body, into contact with Ms. Leeds’ genitalia,
in each case in violation of federal law.” 660 F. Supp. 3d at 203.
According to the district court, the conduct “therefore satisfies at least
Rule 413(d)(2) and 413(d)(5) and thus Rule 415.” Id. at 203-04. The
district court said that the purported conduct on the airplane would
violate 49 U.S.C. § 46506, which prohibits “sexual contact” on an
airplane. See id. at 203 n.12.

       The panel opinion did not even cite 49 U.S.C. § 46506. It instead
decided that the conduct on the airplane was (1) a simple assault
under 18 U.S.C. § 113(e), and (2) “an ‘attempt’ under Rule 413(d)(5) to
engage in the conduct described in Rule 413(d)(2).” 124 F.4th at 160.
But the district court had not even mentioned 18 U.S.C. § 113(e).

       The courts could not agree on a rationale for admitting the
testimony because none are convincing. A non-sexual-assault offense
does not qualify as a “crime” of “sexual assault” under Rule 413(d).
Nor does Rule 415 allow the introduction of evidence of an attempt
“to engage in the conduct described in Rule 413(d)(2)” that is not the

29
   See Rapp, 2022 WL 5243030, at *1 n.4 (“Plaintiff’s assumption that any
crime characterized as sexual assault by state law qualifies is mistaken. In
order to constitute ‘sexual assault’ for purposes of Rule 413(d), the conduct
at issue must satisfy one of the five enumerated categories under that rule
and, in addition, constitute a crime under either federal or state law.”).

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commission of “a crime under federal law or under state law.” The
new doctrine of the panel opinion that an “attempt” under Rule
413(d)(5) does not need to be a criminal attempt deprives the
defendant of the ability to argue that the conduct would not qualify
as an attempt under the relevant “federal law or … state law.” The
panel opinion dispensed with the requirement under Rule 415 to
identify such a law.

                                   D

      The district court did not admit the Access Hollywood tape
pursuant to Rule 415 but the panel opinion proceeded as if it had.
“[W]e conclude,” the panel opinion explained, “that the district court
did not abuse its discretion in admitting the recording pursuant to
Rules 413(d)(2), 413(d)(5), and 415.” 124 F.4th at 167. But the district
court actually determined that “reliance on Rule 415 was unnecessary
because the video was offered for a purpose other than to show the
defendant’s propensity to commit sexual assault.” 683 F. Supp. 3d at
313 n.20. As a result, the district court “did not include the Access
Hollywood tape in its instructions to the jury on the evidence of
Mr. Trump’s alleged sexual assaults of other women” that it admitted
pursuant to Rule 415. Id. The district court instructed the jury that it
should apply the definition of sexual assault in Rule 413(d) only when
“determining whether Mr. Trump sexually assaulted or attempted to
sexual[ly] assault Ms. Leeds or Ms. Stoynoff.” App’x 2803. It said that
“the definition of ‘sexual assault’ that I have just given you applies
only to your determination of whether to consider the evidence
concerning alleged assaults or attempted assaults on those other




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women. It has no application to anything else in these instructions.”
Id. at 2804. 30

       That difference in treatment means that the holding of the panel
opinion that the tape was admissible under Rule 404(b) makes a
difference. If the admissibility of the tape depended only on Rule 415,
a court would need to decide whether the erroneous jury instruction
mattered to the verdict. And a court would also need to identify the
“crime” of “sexual assault” that the Access Hollywood tape described.
In its preliminary ruling, the district court said only that “a jury
reasonably could find … that Mr. Trump admitted in the Access
Hollywood tape that he in fact has had contact with women’s genitalia
in the past without their consent, or that he has attempted to do so. …
Accordingly, the tape satisfies Rule 415 by virtue of Rule 413(d)(2) and
(d)(5).” 660 F. Supp. 3d at 203. The panel opinion said only that “the
district court did not abuse its discretion in admitting the recording
pursuant to Rules 413(d)(2), 413(d)(5), and 415.” 124 F.4th at 167. No
court identified “a crime under federal law or under state law,” even
under the loose interpretation of that requirement the courts applied
to the other evidence.



30
   The statement insists that the district court still relied on Rule 415 to
admit the Access Hollywood tape. See post at 7 n.7. It does so in reliance on an
order the district court issued in a different but related case eight months
after the notice of appeal was filed in this case. In that order, the district
court said that it admitted the tape “under Rule 415,” citing its pretrial
ruling, and “alternatively … under Rule 404(b),” citing the post-trial ruling
in which it concluded that reliance on Rule 415 was unnecessary. Carroll v.
Trump, No. 20-CV-7311, 2024 WL 97359, at *9 (S.D.N.Y. Jan. 9, 2024).
Whatever the district court later claimed about admissibility, it instructed
the jury that the standards for considering evidence admitted under Rule
415 did not apply to the tape. See App’x 2801-04.

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      As noted above, the tape describes an unspecified but
unsuccessful advance toward Nancy O’Dell following a furniture-
shopping excursion. And it includes the general statement about
being “automatically attracted to beautiful” women and “kissing
them” because “when you’re a star they let you” engage in such
conduct, including the touching of genitals. App’x 2883. It is difficult
to evaluate whether the tape provides evidence of a crime of sexual
assault under federal or state law because neither the district court
nor the panel opinion identified such a law.

      Still, the account of the interaction with O’Dell does not include
any details of sexual conduct—let alone conduct that would
constitute the commission of a crime of sexual assault under federal
or state law. See Jacques, 684 F.3d at 327 (upholding the exclusion of
evidence of prior alleged acts of sexual assault when there was
“murkiness … with regard to whether, or how much, coercion was
involved”). And even if the general statement—about what women
might allow celebrities to do—could be interpreted to describe
unwanted sexual conduct, it does not describe a particular act
constituting a crime. Courts do not normally treat a statement
describing conduct in general—such as “generic references to
violence”—as probative of criminal conduct unless the statement has
“a close relationship to a specific criminal act.” United States v. Jordan,
714 F. Supp. 3d 158, 166-67 (E.D.N.Y. 2024). In other words, the
speaker must reference “specific facts that might relate to his
participation” in physical conduct that could be charged as a crime.
Id. at 165. It is even more important to adhere to that principle when
applying an evidentiary rule that requires the admitted evidence to




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show that the defendant “committed” a “crime.” Fed. R. Evid. 415(a),
413(d). 31

                            *      *      *

       The trial in this case consisted of a series of indefensible
evidentiary rulings. The panel opinion sidestepped the law of
defamation, diminished the bar on propensity evidence, weakened
Rule 403’s limitation on prejudicial evidence, and expanded
extratextually the propensity evidence that can be admitted under
Rules 413-15. Following the panel opinion, a district court may admit
testimony against a criminal defendant to show a propensity for
sexual assault based on alleged non-criminal acts that occurred more
than four decades earlier with little consideration of prejudice under
Rule 403.

       The result was a jury verdict based on impermissible character
evidence and few reliable facts. No one can have any confidence that
the jury would have returned the same verdict if the normal rules of
evidence had been applied. Because I would apply the same rules in
every case regardless of the identity of the defendant, I dissent from
the denial of rehearing en banc.




31 See Edward J. Imwinkelried, 1 Uncharged Misconduct Evidence § 2:17
(2024) (explaining that, unlike “the common law and Rule 404(b),” Rules
413-15 require that, “to qualify for admission, the act must amount to a
criminal offense”).

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